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                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION




 FRANCISCO ANGUIANO,                                    CASE NO.: 19-493
                                      Plaintiff,        COMPLAINT
         v.                                             (Unlawful Employment Practices –
                                                        Violation of ORS 659A.040; ORS
 KEENAN, HOPKINS, SUDER &                               659A.112; and ORS 659A.118)
 STOWELL CONTRACTORS, INC., d/b/a,
 KHS&S CONTRACTORS,
                                                        DEMAND FOR JURY TRIAL
                                   Defendant.


                                                   I.

                                        INTRODUCTION

         1.       Pursuant to ORS 659A.040, Plaintiff alleges the deprivation of his rights as

 protected by Oregon anti-discrimination and anti-retaliation statutes. He seeks damages and
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 equitable remedies, including declaratory judgment, attorney fees, litigation expenses/costs,

 including expert witness fees and expenses in an amount to be determined by a jury at trial.

                                                  II.

                                  JURISDICTION AND VENUE

         2.       This court has jurisdiction under 28 U.S.C. § 1332 because there is diversity in

 citizenship and the amount in controversy is greater than $75,000.00.

         3.       Defendant Keenan, Hopkins, Suder & Stowell Contractors, Inc., d/b/a, KHS&S

 Contractors (“KHS&S”), registered in the State of California, maintains its principal place of

 business in Anaheim, California. KHS&S does regular business in the state of Oregon, and a

 substantial part of the actions, events and omissions upon which Plaintiff’s claims are based

 occurred within Washington County, Oregon. The District of Oregon, Portland Division is the

 proper venue to hear these claims.

                                                 III.

                                              PARTIES

         4.       Plaintiff Francisco Anguiano (“Mr. Anguiano”) is a former employee of KHS&S,

 and a resident of the State of Oregon, County of Washington.

         5.       At all times relevant hereto, Defendant KHS&S was a corporation, registered in the

 State of California and doing business in several states including Oregon and Washington, which,

 under Oregon law, is responsible for the unlawful employment practices of its agents and

 employees.

                                                 IV.

                                               FACTS


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         6.       On or about December 6, 2017, KHS&S hired Mr. Anguiano as a drywall taper to

 work at a construction site for a Nike headquarters expansion in Washington County, Oregon.

         7.       On or about February 15, 2018, Mr. Anguiano sustained an injury when a scissor-

 lift he was operating propelled him into an electrical wiring fixture, injuring his left shoulder and

 back. Immediately after his injury, Mr. Anguiano reported the injury to his manager Benjamin

 Jones, invoking his right to workers’ compensation under Oregon law, but Mr. Jones told him to

 return to work, pointing out that Mr. Anguiano was not bleeding. At the end of the day, when Mr.

 Anguiano attempted to fill out an injury report. Mr. Jones instructed him to change his entry in the

 report to indicate that he had not been injured, and Mr. Anguiano did so out of fear of retaliation.

         8.       On or about February 16, 2018, Mr. Anguiano returned to work at KHS&S in spite

 of ongoing pain in his back and left shoulder where he had been injured the day before. At the end

 of Mr. Anguiano’s workday, KHS&S terminated his employment, telling him there was no more

 work for him. Meanwhile, Mr. Anguiano was aware that the floors above where he had been

 working had additional work for his crew.

         9.       On or about February 26, 2018, Mr. Anguiano filed a workers’ compensation claim

 for his February 15, 2018 workplace injury.

         10.      On or about March 2, 2018, Mr. Anguiano’s doctor issued a Work Activity Status

 Report, restricting Mr. Anguaino’s work activities, including substantial limitations to his ability

 to work, reach and lift.

         11.      On or about March 9, 2018, Mr. Anguiano’s doctor issued a Work Status Report,

 restricting Mr. Anguiano’s work activities, including instructions that Mr. Anguiano be assigned

 to work that “[n]ever” required him to bend or twist along with orders to modify his activity to


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 substantially limit a number of his other major life activities, including lifting, pushing, pulling,

 kneeling, squatting and climbing.

         12.     On or about March 9, 2018, Joel Urista, KHS&S Risk Management Administrator,

 offered Mr. Anguiano a temporary modified duty job, to begin March 12, 2018. The temporary

 job offer stated that Mr. Anguiano would never be required to bend down or twist, and would only

 be required to squat occasionally, among other work restrictions.

         13.     On or about March 13, 2018, KHS&S assigned Mr. Anguiano to pick up nails and

 screws scattered on the ground around another jobsite, also in Washington County, Oregon.

 Contrary to Mr. Anguiano’s work restriction, this involved repetitive stooping and bending,

 causing Mr. Anguiano increased pain in his back. Out of fear that he would lose his job if he

 refused to do so, Mr. Anguiano complied with the order. A number of KHS&S supervisors were

 witnessed later standing next to a window laughing at Mr. Anguiano stooping down to pick up the

 fasteners in the rain.

         14.     On or about March 13, 2018, after Mr. Anguiano complained that his first

 assignment was inflaming his back injury, KHS&S assigned Mr. Anguiano with counting the

 windows on the outside of a KHS&S construction site. He walked around the building in the rain

 and counted several hundred windows, returning with his tally of windows to his supervisor who

 appeared to have no use for the information Mr. Anguiano had gathered.

         15.     On or about March 14, 2018, Mr. Anguiano was assigned to study safety training

 materials on a computer and take related quizzes in an unheated shipping container, otherwise used

 for storage. Aside from the computer, the only source of light in the unheated shipping container

 was a single work light. For several weeks, Mr. Anguiano endured sitting in a stationary position


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 with temperatures often hovering in the low 30s, Fahrenheit. When Mr. Anguiano closed the door

 to reduce draft, his supervisors opened it, explaining that they wanted to keep an eye on him.

         16.    On or about March 22, 2018, Mr. Anguaino’s physician issued a Disability Slip,

 continuing to impose substantial restrictions to Mr. Anguiano’s authorization to lift, bend, push

 and pull. Mr. Anguiano’s physician also advised that he wa not to sit for longer than 45 minutes at

 a time. The Disability Slip also indicated that Mr. Anguiano was authorized to perform the

 modified duties of (a) “tool check in/out - alternate sitting and standing,” (b) “fire watch,” (c)

 “daily work planning,” and (d) “on line video safety training.” KHS&S continued to assign Mr.

 Anguiano exclusively to continue the safety training in the container.

         17.    On or about March 27, 2018, feeling like being forced to work in the cold, dark

 container was a punishment for reporting his injury, Mr. Anguiano requested assistance from his

 union in securing a less painful and degrading assignment, reporting that remaining seated in the

 cold was causing him increased discomfort in his back. The union passed this information on to

 KHS&S, which made no change to his assignment.

         18.    On or about April 3, 2018, Mr. Anguiano’s physician adjusted his work restrictions

 to require that he be permitted to work at room temperature, out of concern that being forced to sit

 in the cold was aggravating his workplace injuries.

         19.    On or about April 4, 2018, KHS&S received Mr. Anguiano’s new work restriction.

 In spite of the doctor’s orders, Mr. Anguiano was required to work approximately another week in

 the container without a heater until he found a heater elsewhere on the jobsite to use to keep warm.

         20.    On or about April 4, 2018, KHS&S’s workers’ compensation insurer accepted as

 compensable Mr. Anguiano’s claim for conditions related to his workplace injuries including


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 “disabling cervical sprain; bilateral shoulder strains, anterior chest wall strain and left shoulder

 contusion.”

         21.    On or about April 15, 2018, KHS&S moved Mr. Anguiano to an unfinished, heated

 part of the building under construction at the same site where the container was located to continue

 online safety training assignments.

         22.    On or about May 8, 2018, KHS&S falsely accused Mr. Anguiano of using his

 telephone on the job without authorization and wrote him up for the offense, even though Mr.

 Anguiano explained he was on the phone with Joel Urista, Risk Management Administrator for

 KHS&S discussing a work-related matter.

         23.    On or about mid-June 2018, when the construction finished where Mr. Anguiano

 had been completing the safety training assignments, KHS&S assigned Mr. Anguiano to continue

 the safety training “work” from his home.

         24.    On or about June 25, 2018, KHS&S assigned Mr. Anguiano to work for the Habitat

 for Humanity (“Habitat”) Restore in Beaverton, paying him with a paycheck from KHS&S for the

 time he put in for Habitat.

         25.    On or about November 11, 2018, Mr. Anguiano’s workers’ compensation claim

 was closed and he was deemed to have a permanent partial disability.

         26.    On or about December 14, 2018, KHS&S terminated Mr. Anguiano; he would no

 longer be paid by KHS&S to work at Habitat.

         27.    At all material times, Mr. Anguiano had a disability as defined by ORS 659A.104.

 Despite his disability, Mr. Anguiano could perform the essential functions of his job with

 accommodation.


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         28.        At all material times, KHS&S knew about Mr. Anguiano’s disability.

         29.        Alternatively, at all material times KHS&S perceived Mr. Anguiano to be

 disabled.

         30.        Prior to his injury, Mr. Anguiano had a good rapport KHS&S managers. After his

 injury, and after reporting his disability, management markedly changed its treatment of him for

 the worse:

               a)    From the time he was injured, through June 30, 2018, when he moved on to the

                     job with Habitat, Mr. Anguiano’s direct supervisors appeared upset with him,

                     would not talk to him directly and instead relayed information through other

                     employees except when they issued him disciplinary actions.

               b)    KHS&S discouraged Mr. Anguiano from filing his workers’ compensation claim.

               c)    KHS&S required Mr. Anguiano to engage in work activities outside his doctors’

                     work restrictions.

               d)    KHS&S assigned Mr. Anguiano demeaning make-work tasks which served no

                     legitimate purpose for the company.

               e)    KHS&S required Mr. Anguiano to work in at least one modified job that was not

                     approved by his doctor.

               f)    KHS&S placed Mr. Anguiano in a workplace that was freezing cold, dimly lit,

                     and detrimental to his health and recovery, in spite of receiving authorization from

                     his physician to assign Mr. Anguiano to several other positions and/or tasks.

               g)    KHS&S required Mr. Anguiano to wear his hardhat in areas where others were

                     not required to do so, even in the KHS&S jobsite office and while seated in the


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                     office space to do his safety training, where no construction activities were under

                     way. Upon information and belief, KHS&S did not require other occupants of

                     areas where no construction was happening to do the same.

               h)    KHS&S targeted Mr. Anguiano with unwarranted disciplinary action for using

                     his telephone for employer-authorized communications.

                                                    V.

                                                CLAIMS

                                   FIRST CLAIM FOR RELIEF
                          Workers’ Compensation Discrimination/Retaliation
                                        (ORS 659A.040)

         31.        Mr. Anguiano realleges and incorporates paragraphs 1 through 30 above.

         32.        As herein described, KHS&S discriminated and/or retaliated against Mr. Anguiano

 in the terms and conditions of his employment in violation of ORS 659A.040.

         33.        A substantial factor in the discrimination/retaliation was Mr. Anguiano’s

 invocation of the workers’ compensation system.

         34.        KHS&S’s actions caused Mr. Anguiano to incur emotional distress, suffering and

 other non-economic harms in an amount to be determined at trial.

         35.        Mr. Anguiano is entitled to a declaration that KHS&S violated his rights under ORS

 659A.040, an order requiring KHS&S to take appropriate steps to make him whole and/or other

 equitable remedies as appropriate.

         36.        Because KHS&S’s actions exhibit a reckless and outrageous indifference to a

 highly unreasonable risk of harm, undertaken with a conscious indifference to the health safety

 and welfare of Mr. Anguiano, Mr. Anguiano is entitled to punitive damages.


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         37.   Mr. Anguiano is entitled to his attorneys’ fees and costs pursuant to ORS 659A.885

 and ORS 20.107.

                               SECOND CLAIM FOR RELIEF
                         Disability/Perceived Disability Discrimination
                                        (ORS 659A.112)

         38.   Mr. Anguiano realleges and incorporates paragraphs 1 through 37 above.

         39.   As herein described, by subjecting him to humiliating and otherwise hostile

 conditions, KHS&S discriminated and/or retaliated against Mr. Anguiano in the terms and

 conditions of his employment in violation of ORS 659A.112.

         40.   A substantial factor in the discrimination was Mr. Anguiano’s disability.

         41.   KHS&S’s actions caused Mr. Anguiano to incur emotional distress, suffering and

 other non-economic harms in an amount to be determined at trial.

         42.   Mr. Anguiano is entitled to a declaration that KHS&S violated his rights under ORS

 659A.112, an order requiring KHS&S to take appropriate steps to make him whole and/or other

 equitable remedies as appropriate.

         43.   Because KHS&S’s actions exhibit a reckless and outrageous indifference to a

 highly unreasonable risk of harm, undertaken with a conscious indifference to the health safety

 and welfare of Mr. Anguiano, Mr. Anguiano is entitled to punitive damages.

         44.   Mr. Anguiano is entitled to his attorneys’ fees and costs pursuant to ORS 659A.885

 and ORS 20.107.

                                THIRD CLAIM FOR RELIEF
                       Failure to Accommodate a Disability/Retaliation
                                      (ORS 659A.118)

         45.   Mr. Anguiano realleges and incorporates paragraphs 1 through 44 above.


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        46.      KHS&S engaged in an unlawful employment practice by failing to engage in the

 interactive process to determine reasonable accommodation and failing to provide reasonable

 accommodation for Mr. Anguiano’s known physical limitations in violation of ORS 659A.112 and

 ORS 659A.118.

        47.      As a direct and proximate result, Mr. Angiuano has suffered economic and non-

 economic damages.

        48.      KHS&S’s actions caused Mr. Anguiano to incur emotional distress, suffering and

 other non-economic harms in an amount to be determined at trial.

        49.      Mr. Anguiano is entitled to a declaration that KHS&S violated his rights under ORS

 659A.118, an order requiring KHS&S to take appropriate steps to make him whole and/or other

 equitable remedies as appropriate.

        50.      Because KHS&S’s actions exhibit a reckless and outrageous indifference to a

 highly unreasonable risk of harm, undertaken with a conscious indifference to the health safety

 and welfare of Mr. Anguiano, Mr. Anguiano is entitled to punitive damages.

        51.      Mr. Anguiano is entitled to his attorneys’ fees and costs pursuant to ORS 659A.885

 and ORS 20.107.

                                                VI.

                                              PRAYER

        Mr. Anguiano prays for his costs and disbursements incurred herein and for the following

 in accordance with the proof at trial:

        a.       Non-economic damages;

        b.       Equitable relief;


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        c.       Punitive damages;

        d.       Reasonable attorneys’ fees and costs;

        e.       A declaration that KHS&S violated Mr. Anguiano’s rights and an order requiring

                 KHS&S to make him whole;

        f.       Pre-judgement and post-judgment interest as appropriate and allowed by the law;

                 and

        g.       Any and all other relief as this court may deem proper.



 DATED this 3rd day of April, 2019.



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